                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF WISCONSIN


 NORMAN STAPLETON, CRAIG BATES,
 DUANE BULL, CAMERON CANADY,
 TIMOTHY GIBSON, THOMAS KURUC,
 ALLEN OWENS, and SEAN TATE,

                               Plaintiff,
         v.                                                                  ORDER

 KEVIN CARR, RANDALL R. HEPP,                                             16-cv-406-jdp
 EDWARD WALL, JON LITSCHER, GARY HAMBLIN,
 CATHY JESS, MARC W. CLEMENTS, JOY TASSLER,
 MICHAEL MCCORMICK, PAT CHAMBERLAIN,
 and JOHN MAGGIONCALDA,

                               Defendants.


       Court-recruited counsel for the consolidated plaintiffs have filed a motion to withdraw

from the case. Dkt. 226. For the reasons stated in my previous order, Dkt. 225, I will grant

that motion. I will deny as moot counsel’s alternative request for a status conference. Dkt. 224.

       Counsel’s withdrawal means that each of the plaintiffs whose cases were consolidated

in this one will now be proceeding on their own without counsel. The same goes for all of the

plaintiffs bringing cases about the water quality at Fox Lake Correctional Institution whose

lawsuits were not consolidated with this one but were stayed pending resolution of the

consolidated case.

       Although each plaintiff’s case will now be proceeding separately, my rulings in the

consolidated case apply to each plaintiff’s case. Based on the court-appointed water-quality

expert’s report, I dismissed the consolidated plaintiffs’ claims that prison officials violated their

Eighth Amendment right to be free from cruel and unusual conditions of confinement by
subjecting them to unsafe and aesthetically unpleasing drinking water caused by high levels of

lead, copper, iron, and manganese. Dkt. 160.

       The consolidated case did not resolve medical care claims about the health risks posed

by Fox Lake’s water to particular inmates and the treatment of medical conditions that were

caused by the water. All of the parties now have the report issued by court-appointed medical

and toxicology expert Alfred Franzblau. The next step is for each plaintiff to submit an

amended complaint containing only the plaintiff’s medical care claims. I will give each plaintiff

a deadline to submit his amended complaint, and I will screen each plaintiff’s complaint

separately.

       Plaintiffs Duane Bull and Tyrone Davis Smith have each filed motions to clarify the

status of his respective case. Dkt. 211 in this case and Dkt. 121 in case no. 17-cv-396. This

order addresses plaintiffs’ questions about how each case will proceed: each plaintiff’s current

task is to submit an amended complaint.

       Plaintiff Norman Stapleton has filed a motion for the court’s assistance in recruiting

him counsel. Dkt. 228. But as I stated in my previous order, plaintiffs should not need

recruitment of counsel to submit an amended complaint. Dkt. 225, at 3–4.



                                            ORDER

       IT IS ORDERED that:

       1. Plaintiffs’ counsel’s motion to withdraw, Dkt. 226, is GRANTED.

       2. Counsel’s motion for a status conference, Dkt. 224, is DENIED as moot.

       3. The stay is lifted in each of the above-listed cases, and each case will proceed
          individually, unconsolidated from the others.

       4. Each plaintiff may have until July 21, 2021, to submit an amended complaint.


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5. Plaintiffs’ motion for clarification, Dkt. 211 in this case and Dkt. 121 in
   case no. 17-cv-396, are GRANTED.

6. Plaintiff Stapleton’s motion for the court’s assistance in recruiting him counsel,
   Dkt. 228, is DENIED without prejudice.

Entered June 21, 2021.

                                   BY THE COURT:

                                   /s/
                                   ________________________________________
                                   JAMES D. PETERSON
                                   District Judge




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